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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT



        J. DOES 1-26,

                        Plaintiff-Appellees,

                                v.                                       No. 25-1273

        ELON MUSK, et al.

                        Defendants-Appellants.


                                 MOTION TO WITHDRAW

              Pursuant to Circuit Rule 46(c), defendants-appellants respectfully

        request that Abby Wright be permitted to withdraw as counsel in this

        appeal because Ms. Wright is leaving the U.S. Department of Justice.

        Defendants-appellants will continue to be represented by Adam Jed,

        Cynthia Barmore, and other Department of Justice attorneys.
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                                                Respectfully submitted,


                                                 /s/ Abby C. Wright
                                                ABBY C. WRIGHT
                                                (202) 514-0664
                                                  Attorneys, Appellate Staff
                                                  Civil Division
                                                  U.S. Department of Justice
                                                  950 Pennsylvania Ave. NW
                                                  Room 7517
                                                  Washington, D.C. 20530
                                                  abby.wright@usdoj.gov
         APRIL 2025




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                           CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby

        certify this motion complies with the requirements of Rule 27(d)(1)(E)

        because it has been prepared in 14-point Georgia, a proportionally spaced

        font, and that it complies with the type-volume limitation of Rule

        27(d)(2)(A) because it contains 105 words, according to the count of

        Microsoft Word.


                                                   /s/ Abby C. Wright
                                                   ABBY C. WRIGHT
